 8:06-cr-00310-JFB-FG3      Doc # 73     Filed: 04/13/07   Page 1 of 1 - Page ID # 157




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )            8:06CR310
              Plaintiff,                 )
                                         )              ORDER
       vs.                               )
                                         )
KYLE R. STEENBLOCK,                      )
                                         )
              Defendant.                 )

       This matter comes before the court on defendant’s motion to seal. Being fully

advised in the premises, the court finds that said motion should be granted.

       IT IS THEREFORE ORDERED that the defendant’s brief and documents in support

of his motions for downward departure and variance from the sentencing guidelines shall

be filed under seal.

       IT IS FURTHER ORDERED that the defendant shall serve a copy of the sealed

documents to the United States Attorney and the U.S. Probation Office.

       DATED this 13th day fo April, 2007.

                                         BY THE COURT:



                                         s/Joseph F. Bataillon
                                         JOSEPH F. BATAILLON
                                         United States District Judge
